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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

 COMMUNITY FINANCIAL SERVICES
 ASSOCIATION OF AMERICA, LTD., and
 CONSUMER SERVICE ALLIANCE OF TEXAS,

                               Plaintiffs,
 v.
                                                       Civil Action No. 1:18-cv-295-LY
 CONSUMER FINANCIAL PROTECTION
 BUREAU and JOHN MICHAEL MULVANEY,

                               Defendants.


               AMICUS MEMORANDUM OF PUBLIC CITIZEN, INC.,
      AMERICANS FOR FINANCIAL REFORM EDUCATION FUND, CENTER FOR
       RESPONSIBLE LENDING, AND NATIONAL CONSUMER LAW CENTER
        IN OPPOSITION TO PLAINTIFFS’ MOTION FOR RECONSIDERATION

        Having properly denied the parties’ request for a stay of the Consumer Financial Protection

Bureau (CFPB) Payday Rule pursuant to 5 U.S.C. § 705, the Court should deny plaintiffs’ motion

for reconsideration. The Court can stay agency action under section 705 only “to make judicial

review effective,” H.R. Rep. No. 79-1980, at 277 (1946), and after considering the four factors

that apply to a stay pending appeal, see Texas v. U.S. EPA, 829 F.3d 405, 424, 435 (5th Cir. 2016).

Here, where the parties sought and received a stay of the litigation, a section 705 stay would be

improper.

I.      Section 705 provides for a stay during judicial review and is not appropriate where
        the litigation is stayed.

        Plaintiffs in effect request a court injunction providing the ultimate relief they seek—the

setting aside of the Payday Rule until the CFPB repeals or replaces it—without the hassles of

litigation or an agency rulemaking. Section 705 does not authorize a stay for those purposes.



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        By its plain language, a stay of agency action under the Administrative Procedure Act

(APA), 5 U.S.C. § 705, is available only “to the extent necessary to prevent irreparable injury”

“pending conclusion of [judicial] review proceedings.” Section 705’s purpose is to “make judicial

review effective.” H.R. Rep. No. 79-1980, at 277 (1946); S. Rep. No. 79-752, at 213 (1945)

(similar). It “was primarily intended to reflect … the Scripps-Howard doctrine,” a doctrine that

recognized a court’s limited authority to stay an agency action from which an appeal was taken,

pending the determination of that appeal. Sampson v. Murray, 415 U.S. 61, 68 n.15, 72-76 (1974);

see also Scripps-Howard Radio v. FCC, 316 U.S. 4, 9-17 (1942) (holding that the lower court had

authority to stay an FCC order pending the court’s review of that order). A court cannot “make

time stand still.” Scripps-Howard, 316 U.S. at 9. Instead, under the Scripps-Howard doctrine, a

court can stay agency action pending court review for the purpose of “prevent[ing] irreparable

injury to the parties or to the public resulting from the premature enforcement of a determination

which may later be found to have been wrong,” id., because “judicial review would be an idle

ceremony if the situation were irreparably changed before the correction could be made,” id. at 10.

        The language and purpose of section 705 fully support this Court’s decision to deny the

parties’ request for a section 705 stay. Granting that request would turn Scripps-Howard and

section 705 doctrine on its head. By insisting that they need both a stay of litigation while the

CFPB reviews its rule and a section 705 stay, plaintiffs make clear that they seek a stay pending

agency reconsideration, not this Court’s consideration. Although plaintiffs invoke (at 1, 2, 3) their

“right” to judicial review, they do not seek to ensure that the Court can provide meaningful judicial

review—they seek to avoid court review altogether. See Pls. Mot. (Dkt. 30) at 2-3 (arguing that

plaintiffs need a stay of litigation and a stay of the Payday Rule so that they can avoid the “need

for litigation” as well as the “burdens of litigation”).



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       Courts have repeatedly rejected section 705 stays where, as here, the parties’ actions

suggest that a stay would not be for the purpose of maintaining the status quo during the court’s

adjudication of the case. See State v. U.S. Bureau of Land Mgmt., 277 F. Supp. 3d 1106, 1121-22

(N.D. Cal. 2017) (concluding that section 705 stay was not proper when an agency-issued stay

notice referenced questions about the underlying rule, not the pending litigation; the agency had

sought and received a lengthy extension of time in the relevant litigation; and the agency had relied

on “future administrative review” and the attempted stay to justify such extension); Becerra v. U.S.

Dep’t of Interior, 276 F. Supp. 3d 953, 964 (N.D. Cal. 2017) (concluding that “because [an agency]

sought and secured stays in the cases challenging the [rule at issue] …, [the agency] improperly

invoked section 705 to suspend the effective date of the Rule pending its ultimate repeal rather

than pending judicial review as required by section 705”); Sierra Club v. Jackson, 833 F. Supp.

2d 11, 33 (D.D.C. 2012) (concluding that section 705 was improperly invoked when “[t]he purpose

and effect of the [stay] plainly are to stay the rules pending reconsideration, not litigation”). In

short, a section 705 stay is not proper “simply because litigation … happens to be pending.” Sierra

Club, 833 F. Supp. 2d at 34.1

       The agency defendants are wrong to suggest that the “pending … review” requirement of

section 705 is satisfied by a lawsuit stayed at the parties’ request. And the cases on which the

agency relies involve quite different circumstances: (a) preliminary injunctions that (b) courts issue

during active litigation and (c) not in connection with joint action by the parties or to protect an

agency’s attempt to rewrite its own rules. For example, in Franciscan Alliance, Inc. v. Price, No.




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          Cases regarding agency-issued section 705 stays are applicable here because for both
court-ordered section 705 stays and agency-issued ones, section 705 requires that the stay be
justified based on pending litigation. See 5 U.S.C. § 705.


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7:16-cv-00108-O, 2017 WL 3616652 (N.D. Tex. July 10, 2017), on which the agency relies, the

court issued a preliminary injunction and, only later, stayed the litigation in response to a motion

by the defendants that the plaintiffs opposed. Id. at *1, 3, 5. In League of Women Voters of United

States v. Newby, 238 F. Supp. 3d 6 (D.D.C. 2017), the preliminary injunction also issued when the

litigation was active; the district court stayed the litigation only after remanding the matter to the

agency to clarify an ambiguity and deferring a ruling on summary judgment motions due to that

remand. Id. at *10, 16-17. Similarly, in FBME Bank Ltd. v. Lew, 142 F. Supp. 3d 70 (D.D.C. 2015),

the court issued a preliminary injunction, and then stayed the litigation after granting a defendant

agency’s contested motion for a remand to address issues raised by the court in its injunction, id.

at 71-76. Later in the same litigation, the court issued a section 705 stay after cross-motions for

summary judgment were filed, “to enable thorough judicial review.” FBME Bank Ltd. v. Lew, 200

F. Supp. 3d 299, 310 (D.D.C. 2016).2

       The agency also complains (at 18 n.9) of uncertainties and delays inherent in the notice-

and-comment rulemaking procedures that the APA requires agencies to undertake when seeking

to alter a final rule. Section 705, however, provides no authority for an end-run around APA

requirements that an agency finds inconvenient. If the agency is unhappy with its own lawfully

promulgated rule, the APA sets forth the procedures for issuing a new or revised regulation. See 5

U.S.C. § 553; see, e.g., Clean Air Council v. Pruitt, 862 F.3d 1, 8-9, 14 (D.C. Cir. 2017) (vacating

agency stay of its own rule announced without notice-and-comment rulemaking); Open Cmtys.

All. v. Carson, 286 F. Supp. 3d 148, 162-63 (D.D.C. 2017) (similar, and collecting citations).



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          Covington v. Schwartz, 230 F. Supp. 249 (N.D. Cal. 1964), also cited by the agency, is
also not analogous to the present circumstances. In that case, the court issued a section 705 stay to
protect its ability to complete review of a case after the court remanded the matter to the agency
for exhaustion of administrative remedies. Id. at 253, aff’d as modified, 341 F.2d 537 (9th Cir.
1965).
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Elsewhere, the agency has used APA rulemaking to delay final rules. E.g., 78 Fed. Reg. 32547

(May 31, 2013) (after notice-and-comment rulemaking, CFPB delaying effective date of final rule

to allow time for agency to issue clarification); 78 Fed. Reg. 6025 (Jan. 29, 2013) (after notice-

and-comment rulemaking, CFPB delaying effective date of a 2012 rule pending finalization of an

additional rule to address three issues posed by the 2012 rule).

II.    A stay is also improper because the parties have not satisfied the four-factor test.

       Because a section 705 stay would not be proper in the circumstances of this case, the Court

need not consider the agency’s discussion of the four factors relevant to a stay pending appeal. The

agency is wrong in suggesting that irreparable harm or the other three factors permit a section 705

stay where litigation is not proceeding. These factors do not substitute for (or themselves provide)

an appropriate connection to a judicial review proceeding. See generally Attorney General’s

Manual on the Administrative Procedure Act 106-07 (1947) (recognizing that section 705 stays

are proper only if the court considers equitable factors and the stay is issued as an exercise of

authority “ancillary to … proceedings in which the court is reviewing final agency action”).3

       In any event, plaintiffs’ motion for reconsideration does not mention the four-factor test.

Although the agency discusses the four factors, its arguments lack merit. Two flaws are

particularly notable.




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         The Attorney General’s Manual is available at https://heinonline.org/HOL/LandingPage?
handle=hein.agopinions/atgmanp0001&div=1&src=home. The text is also available at:
https://www.oalj.dol.gov/PUBLIC/APA/REFERENCES/REFERENCE_WORKS/
AG09.HTM#SECTION10D.
        The manual “is a contemporaneous interpretation previously given some deference by [the
Supreme Court] because of the role played by the Department of Justice in drafting the
[Administrative Procedure Act].” Vermont Yankee Nuclear Power Corp. v. NRDC, 435 U.S. 519,
546 (1978).


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       First, the agency offers no support for its assertion that plaintiffs have a “substantial case”

on the merits of their challenge to the Payday Rule. To the contrary, the agency guesses at the

details of a claim and, in so doing, presents reasons that plaintiffs are highly unlikely to prevail on

it. Principally, the agency acknowledges (at 14-15) that it already recognized and responded, in

the rulemaking proceeding, to the research that the agency assumes is at the heart of plaintiffs’

claim. Further, the agency makes clear (at 14-15 nn. 5-6) that the legal conclusions at issue—that

a certain lending practice is both unfair and abusive—may rest on grounds other than those that

the agency now suggests are disputed.

       Second, the agency’s discussion of irreparable harm (at 16-17) and the public interest (at

19) rest on conflicting assumptions about whether the Payday Rule will go into effect. On the one

hand, the agency suggests (at 16 & n.7, 19) that the Court should credit the most extreme of the

CFPB’s earlier hypotheses about the rule’s potential impact on businesses. On the other hand, the

agency argues (at 19) that the Court should discount the Payday Rule’s benefits for consumers

because it is “speculative” whether the rule will go into effect. In this way, the agency’s discussion

“took into account the costs to the … industry of complying with the Rule” but “entirely failed to

consider the benefits of the Rule.” U.S. Bureau of Land Mgmt., 277 F. Supp. 3d at 1122-23 (holding

that an agency-issued section 705 stay is arbitrary and capricious under such circumstances).

Critically, the Payday Rule’s benefits for consumers are significant, and any delay of the rule

would harm the public interest by reducing them. See 82 Fed. Reg. 54472, 54835 (Nov. 17, 2017)

(summarizing how the Payday Rule will benefit consumers by reducing the harms they suffer at

the hands of payday and other lenders).




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                                        CONCLUSION

       For the foregoing reasons, the Court should deny plaintiffs’ motion for reconsideration.

Dated: June 25, 2018                                Respectfully submitted,

                                                    /s/ Rebecca Smullin
                                                    Rebecca Smullin (DC Bar No. 1017451)
                                                    (admitted pro hac vice)
                                                    Public Citizen Litigation Group
                                                    1600 20th Street NW
                                                    Washington, DC 20009
                                                    (202) 588-1000
                                                    Fax: (202) 588-7795
                                                    rsmullin@citizen.org

                                                    Aaron Johnson (TX Bar No. 24056961)
                                                    Equal Justice Center
                                                    510 S. Congress Avenue, Suite 206
                                                    Austin, Texas 78704
                                                    (512) 474-0007
                                                    Fax: (512) 474-0008
                                                    ajohnson@equaljusticecenter.org

                                                    Counsel for Movants Public Citizen, Inc.,
                                                    Americans for Financial Reform Education
                                                    Fund, Center for Responsible Lending, and
                                                    National Consumer Law Center




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 25, 2018, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF system, which will send notification of such filing to counsel for all

parties.

                                                                 /s/ Rebecca Smullin
                                                                 Rebecca Smullin




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